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 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK

 THE UNITED STATES OF AMERICA

                                                                      Hon. Hugh B. Scott

                                                                            07CR37S
                               v.
                                                                           Report
                                                                             &
                                                                       Recommendation



 Timothy Cowley,

                                    Defendant.




         The defendant has filed an omnibus motion seeking the following relief: suppression of

evidence; severance of trial; and preservation of evidence. (Docket No. 81) 1



                                           Background

         On February 13, 2007, a federal grand jury returned a two-count indictment charging

defendant Timothy Crowley, along with co-defendant Peter Giglia, with conspiracy to possess

cocaine with the intent to distribute in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B) and 846.

The indictment also charged Giglia in Count II with forfeiture under 21 U.S.C. § 853.

         On January 4, 2006 and February 7, 2006, Hon. William M. Skretny signed two wiretap



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       The discovery motions are the subject of a separate Decision & Order.

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orders authorizing law enforcement to monitor the cellular telephone number belonging to Peter

Giglia. Crowley was not named as a target in either warrant. During the execution of the

warrants, eight telephone conversations were intercepted involving conversations between Giglia

and Crowley. Crowley contends that the conversations between he and Giglia in these intercepted

calls involved making plans to get together for drinks or meals. The government contends that

the two were discussing drug transactions. The defendant “acknowledges that Mr. Giglia is

alleged to have used code terms such as “cocktails”, “lunch” and “happy hour” to arrange drug

deals. According to the defendant, “[h]owever, Mr. Giglia certainly used those terms to describe

food and drink as well. Whether those terms meant a drug deal or a beer depends on the context.

There is nothing in the calls that point to anything but an innocent conversation.” (Docket No. 81

at ¶ 16). Therefore, Crowley contends, the recording of those calls should have “stopped and the

calls minimized..” (Docket No. 81 at ¶ 16). Crowley also argues that the government failed to

sufficiently demonstrate the necessity for the wiretap orders.



                                             Necessity

       Crowley argues that the government failed to establish the necessity of the wiretap

warrants. The defendant suggests that the affidavit of FBI agent John R. Stamp indicates that the

investigation was working without the necessity of a wiretap. (Docket No. 81 at ¶ 11-13). In this

regard, the defendant relies principally on United States v Lilla, 699 F.2d 99 (2d Cir. 1983).

It should be noted that Lilla has been distinguished at least three times by the Second Circuit

itself and by at least two District Courts in this Circuit. United States v. Torres, 901 F.2d 205

(2d Cir.), cert. denied sub nom. Cruz v. United States, 498 U.S. 906 (1990); United States v.


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Puglisi, 790 F.2d 240 (2d Cir. 1986); United States v. Ruggerio, 726 F.2d 913 (2d Cir.), cert.

denied sub nom. Rabito v. United States, 469 U.S. 831 (1984); United States v. Blount, 30 F.

Supp.2d 308 (D. Conn. 1998); and United States v Crozzoli, 698 F. Supp. 430 (E.D.N.Y. 1988).

       An application for electronic surveillance must include "a full and complete statement as

to whether or not other investigative procedures have been tried and failed or why they

reasonably appear unlikely to succeed if tried or to be too dangerous." 18 U.S.C. § 2518(3)(c).

Although these requirements control the use of such intrusive measures, they "were not intended

to turn electronic surveillance into a tool of last resort." United States v. Valdez, 1991 WL

41590, *2 (S.D.N.Y. 1991), aff'd, 952 F.2d 394 (2d Cir. 1991). Further, these requirements are

to be construed in a "common sense and realistic fashion." Ruggiero, 726 F.2d at 924. As the

Second Circuit has repeatedly made clear:

               The purpose of the[se] statutory requirements is not to preclude the
               use of electronic surveillance until after all other possible means of
               investigation have been exhausted by investigative agents; rather,
               they only require that the agents inform the authorizing judicial
               officer of the nature and progress of the investigation and of the
               difficulties inherent in the use of normal law enforcement methods.

Torres, 901 F.2d at 231.

       In assessing whether the government has satisfied this burden, the Second Circuit has

warned that the averments alleged in connection with the use of normal investigative

techniques are not to be reviewed de novo. Torres, 901 F.2d at 231. The role of the reviewing

Court instead is simply to "decide if the facts set forth in the application were minimally

adequate to support the determination that was made." Torres, 901 F.2d at 231; see Ruggiero,

726 F.2d at 924 (use of certain normal investigative techniques-- such as search warrants, grand

juries or interviews--unnecessary where such techniques would publicize the investigation" and

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"perhaps jeopardize the investigation itself"); United States v. Villegas, 1993 WL 535013

(S.D.N.Y. 1993); United States v. Miranda, 1993 WL 410507 at *2-3 (S.D.N.Y. 1993) (court's

initial "determination that normal investigative techniques would not suffice is entitled to

substantial deference.").

       Finally, the Court has deemed wiretapping "particularly appropriate" where, as here, "the

telephone is routinely relied on to conduct the criminal enterprise under investigation," United

States v. Young, 822 F.2d 1234, 1237 (2d Cir. 1987). Indeed, in the context of narcotics

conspiracies, the Court "has held that the government meets its burden by submitting a wiretap

application supported by an affidavit describing how traditional investigative techniques had

failed to provide more than 'a limited picture' of [the] narcotics organization." Valdez, at *2

(quoting Torres, 901 F.2d at 232).

       Particularly in light of the deferential standard to be applied, the defendants’ assertion

that the government failed to meet the necessity requirement must fail.

       The defendant’s motion to suppress the evidence obtained by electronic surveillance on

the grounds that the government failed to demonstrate the necessity of electronic eavesdropping

should be denied.



                                          Minimization

       Crowley also argues that the government did not adequately utilize minimization

techniques in executing the wiretap orders. This argument must also fail. As quoted above,

Crowley acknowledges that the terms used by Giglia can be code words for drug transactions.

Notwithstanding this acknowledgment, Crowley argues Giglia only used these terms in an


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innocent context with Crowley, and thus, the government should have stopped recording their

conversations.

       Initially, it is undisputed that the phone that was the subject of the wiretap orders

belonged to Giglia not Crowley. The government argues that Crowley lacks standing to assert a

minimization challenge inasmuch as he has not claimed any privacy interest in the tapped

telephone. United States v. Ruggiero, 928 F.2d. 1289, 1303 (2d. Cir. 1990)(even defendants who

are named targets in interception authorization may lack standing to challenge minimization);

United States v. Gallo, 863 F.2d 185, 192 (2d Cir.1988) (Title III suppression provisions to be

construed in accordance with standing requirements of Fourth Amendment; defendants lacked

standing to claim minimization violation regarding electronic surveillance at another's home);

United States v. Fury, 554 F.2d 522, 526 (2d. Cir. 1977)(Fury does not have standing, however,

to raise the issue of improper “minimization” during the Schnell tap. That is because the tap on

Schnell's phone and the failure to minimize the conversations intercepted is an invasion of

Schnell's privacy, not Fury's.)

       Crowley fails to address this standing issue in any way. Crowley lacks standing to raise

the minimization challenge. The motion to suppress the intercepted calls based upon a failure to

minimize should be denied.




                                            Conclusion

       It is recommended that the motion to suppress (Docket No. 81) be denied.

       Pursuant to 28 USC §636(b)(1), it is hereby ordered that this Report & Recommendation


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be filed with the Clerk of the Court and that the Clerk shall send a copy of the Report &

Recommendation to all parties.

       ANY OBJECTIONS to this Report & Recommendation must be filed with the Clerk

of this Court within ten(10) days after receipt of a copy of this Report & Recommendation

in accordance with 28 U.S.C. §636(b)(1), Rules 6(a), 6(e) and 72(b) of the Federal Rules of

Civil Procedure, as well as WDNY Local Rule 72(a)(3).

       FAILURE TO FILE OBJECTIONS TO THIS REPORT & RECOMMENDATION

WITHIN THE SPECIFIED TIME, OR TO REQUEST AN EXTENSION OF TIME TO

FILE OBJECTIONS, WAIVES THE RIGHT TO APPEAL ANY SUBSEQUENT ORDER

BY THE DISTRICT COURT ADOPTING THE RECOMMENDATIONS CONTAINED

HEREIN. Thomas v. Arn, 474 U.S. 140, 106 S.Ct. 466, 88 L.Ed2d 435 (1985); F.D.I.C. v.

Hillcrest Associates, 66 F.3d 566 (2d. Cir. 1995); Wesolak v. Canadair Ltd., 838 F.2d 55 (2d Cir.

1988); see also 28 U.S.C. §636(b)(1), Rules 6(a), 6(e) and 72(b) of the Federal Rules of Civil

Procedure, and WDNY Local Rule 72(a)(3).

       Please also note that the District Court, on de novo review, will ordinarily refuse to

consider arguments, case law and/or evidentiary material which could have been, but was not,

presented to the Magistrate Judge in the first instance. See Patterson-Leitch Co. Inc. v.

Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988).

       Finally, the parties are reminded that, pursuant to WDNY Local Rule 72.3(a)(3), “written

objections shall specifically identify the portions of the proposed findings and recommendations

to which objection is made and the basis for such objection and shall be supported by legal


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authority.” Failure to comply with the provisions of Rule 72.3(a)(3)may result in the District

Court’s refusal to consider the objection.

       So Ordered.




                                                      /s/ Hugh B. Scott
                                                  United States Magistrate Judge
                                                  Western District of New York
Buffalo, New York
November 17, 2007




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